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                       Exhibit 5
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   BANGOR CHRISTIAN SCHOOLS – TEACHER CONTRACT 2022-23
                                    For: _________________

                                 CONDITIONS OF EMPLOYMENT

1) The teacher affirms that, as part of the qualifications for this position, he/she is a "Born
Again" Christian who knows the Lord Jesus Christ as Savior. (John 3:3, I Peter 1:23).

 2) The teacher gives testimony that he/she has a sense of God's will, that teaching is his/her
calling, and that teaching in this Christian school is God's direction.

 3) The teacher will model the highest Christian virtue and personal behavior, serving as a
Christian role model (I Timothy 4:12) both in and out of school to pupils (Luke 6:40), and as an
example to parents and fellow faculty members in judgment, dignity, respect, and Christian
living. These are biblical standards of conduct in the areas of abstaining from the use of
alcohol, drugs, and tobacco, lewd public dancing, practice of gambling, and any other activity
that would hinder your testimony. We require agreement with the standards: 2 Peter 1:5-8,
Colossians 3:17, and Titus 2:7-8.

The teacher further agrees that the Bible dictates the standards for sexual behavior. Any
promiscuity, homosexuality, or other deviant sexual behavior is forbidden and as such violates
the bona fide occupational requirement of being a Christian role model. (Romans 1:24-32)
Deviation from Scriptural standards may be grounds for termination. (Romans 12:1-2; I
Corinthians 6:9-20; Ephesians 4:1-11, 5:3-5; I Thessalonians 4:3-8; I Timothy 4:12; II Timothy
2:19-22; I Peter 1:15-16, 2:15-17; I John 3:1-3).

4) The teacher will faithfully attend and financially support a local church whose fundamental
beliefs are in agreement with the Statement of Faith of this school. (Hebrews 10:25).

5) The teacher accepts without verbal or mental reservations both the Statement of Faith and
the Educational Philosophy and Objectives of this school and is committed to upholding them.

6) The teacher has also read and agrees to abide by the regulations set forth in the Faculty and
Student Handbooks, as well as any additions or changes made during this contract year.
He/she agrees to cooperate in every way with the school authorities and adhere to the policies.
All employees are encouraged to discuss with the Administration privately any policies they to
not understand or do not agree with.

7) The teacher will provide the Administrator with a copy of any teaching certificates and an
official transcript of all college and graduate studies prior to the first day of school or make other
acceptable arrangements with the administration or this contract is voided. The teacher agrees
to work toward teacher certification if required to do so.

8) Assignment to room, grade, subject, and extracurricular duties is to be made at the
discretion of the Administrator after consultation with the teacher. He/she agrees to accept
his/her proportionate amount of supervision outside of the regular classroom assignment. The
extent of such supervision and assignment is to be determined by the Administrator who will
seek as far as possible to achieve equity in all staff assignments.

9) The teacher will strive at all times to understand, appreciate, love, and serve the pupils
entrusted to him/her for instruction, and will to the best of his/her ability provide for their fullest
spiritual, intellectual, physical, and emotional development.

10) The teacher will maintain a classroom atmosphere that is conducive to learning. This
includes maintaining a professional appearance.

11) The teacher will arrive to school at 7:30 a.m. each morning, and will remain in the building
until 3:30 p.m. The teacher agrees to be present and on time for faculty devotions and
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meetings. He/she also agrees to remain after school for such duties, meetings, and
conferences as may be called by the Administration. Teachers are also expected to be present
at school programs and functions where children they normally teach are present.

12) The teacher will avoid highly debatable topics as much as possible that tend to divide
evangelical believers. A student is to be referred to his/her local church if a debatable topic
arises of a theological nature.

13) The teacher agrees to follow the Biblical pattern of Matthew 18:15-17 and Galatians 6:1 and
always give a good report. All differences are to be resolved by utilizing Biblical principles -
always presenting a united front. Appropriate confidentiality will be observed in regard to pupil,
parent, and school matters. (Titus 3:2 and Galatians 5:15)

14) The teacher agrees that Christians believe that the Bible commands them to make every
effort to live at peace and to resolve disputes with each other in private or within the Christian
community in conformity with the Biblical injunctions of I Corinthians 6:1-8, Matthew 5:23-24,
and Matthew 18:15-20.

15) The teacher acknowledges that he/she is fully aware of his/her obligations under state law
regarding child abuse reporting requirements and that he/she will fulfill those obligations.

16) Any previous agreements, whether written or oral, are fully merged into this agreement and
no other agreement, statement or promise other than those contained in this contract shall be
valid or binding on either party. This contract shall be interpreted under the laws of the State of
Maine.

17) The teacher must give the Administration one month prior written notice of intended
resignation unless a different termination date is mutually agreed upon. If the teacher resigns or
is terminated during the period of service covered by this contract, payment shall be made of
that proportionate part of the annual salary, which the number of days of actual duty bears to
the number of days covered by the contract. All fringe benefits would end on the last day of
employment. All of the employer's property in the teacher's custody must be returned before
he/she is entitled to final payment of any amounts due upon separation.

Where cause exists, the Administration may terminate this contract, provided that the teacher
has been informed in writing of the cause or causes for discharge and has been given an
opportunity to respond to them prior to final termination. Dismissal may be immediate or with
longer notice depending upon the reason for dismissal.

Cause, as used herein includes, but is not limited to, any conduct tending to reflect discredit
upon the school, the Administration, or upon the teacher, or tending to seriously impair his/her
continued usefulness as a Christian role model for the students.

18) Bangor Christian Schools has been classified as a 501 (c) (3) non-profit church related
organization and has chosen not to participate in the Federal Unemployment Tax Act. Therefore
upon termination of employment, regardless of the reason(s), unemployment benefits are not
available.




Believing that God has led in this decision, the Administration of Bangor Christian Schools
has appointed Teacher Name to teach Grade etc for the 2021-22 school year. This contract
begins August 16, 2021 and ends August 15, 2022, depending upon satisfactory performance of
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assigned duties. In so doing, we recognize and affirm the ministry of teaching for you as a God-
ordained vocation. We rejoice that God has brought you to us as a "fellow-laborer" in this
ministry. This contract provides a framework of mutual obligation and responsibility to assure
the orderly operation of an exemplary program at Bangor Christian Schools.

By accepting this appointment, said teacher specifically acknowledges that this contract is for a
limited duration and that all rights and privileges herein shall terminate upon the expiration date
of this contract, unless voided earlier pursuant to the provisions listed below. The parties agree
that no rights of tenure or presumption of continued employment are conferred or implied by this
contract or by a number of consecutive contracts. The parties further agree that no right to
notice of renewal or non-renewal of the contract is conferred or implied.

Gross salary for this period of employment will be $amount payable in 24 installments, to be
received on the 15th and 30th of each month, beginning on August 30, 2021 and ending August
15, 2022. Teachers are expected to be available during the entire contract period if necessary.
Full-time teachers are expected to report for work no more than one full week before the first
day of school, and will be expected to work no more than one full week after high school
graduation as a standard. You will be notified of exact dates.

This contract is predicated on availability of funding for this position for the upcoming
school year.

This contract will be valid only if it is signed and returned by July 23, 2021.

I have read and understand the duties, responsibilities, salary and benefits and will abide
with the terms and conditions of this contract.


Teacher Signature                                            Date

We at Bangor Christian Schools extend our warmest welcome to you. We pledge our
prayer support and help as you minister to our students.


Administrator Signature                                      Date
